Case 1:19-cv-03203-WFK-LB Document 9 Filed 10/21/19 Page 1 of 2 PageID #: 31
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                                                                 US DISTRICT COURT E.D.N.Y.

                                                                       UC f 2 1 2019
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK                                                             *
------------------------------------      -------X              BROOKLYN OFFICE
RICHARD MCBRIDE,

                       Plaintiff,
                                                               ORDER
               v.                                              19-CV-3203 (WFK) (LB)

MADISON SECURITY GROUP,

                       Defendant.
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WILLIAM F. KUNTZ II, United States District Judge:

        On October 16, 2019, Defendant filed a request for a pre-motion conference in anticipation

of filing a motion to dismiss the complaint in the above-captioned action. See ECF No. 7. In lieu

of a pre-motion conference, the Court hereby GRANTS Defendant's request to file a motion to

dismiss the complaint and sets the following briefing schedule:

        1.     Defendant shall serve the proposed dispositive motion on Plaintiff on or before

               Friday, December 13, 2019;

        2.     Plaintiff shall serve any opposition to the motion on or before Friday, February 7,

               2020;and

        3.     Defendant shall serve any reply to Plaintiffs opposition on or before Friday,

               March 6, 2020.

       As a courtesy to the Court, the Court requests that the parties refrain from filing motion

papers until the motion has been fully briefed. If the parties elect to file their motion only once it

is fully briefed, the notice of motion and all supporting papers are to be served on the other

parties along with a cover letter setting forth whom the movant represents and the papers being

served. Only a copy of the cover letter shall be electronically filed in advance of the fully
Case 1:19-cv-03203-WFK-LB Document 9 Filed 10/21/19 Page 2 of 2 PageID #: 32




briefed motion, and it must be filed as a letter, not as a motion. On the day the motion is fully

briefed, Defendant shall electronically file their individual motion papers by 5:00 P.M. If

Plaintiff serves his memorandum in opposition, defense counsel is directed to file electronically

Plaintiffs memorandum by 5:00 P.M. on March 6, 2020. Defense counsel shall also mail a

complete set of courtesy copies of all motion papers, via overnight mail, to the Court, attention

of Mr. Andrew Jackson.


                                                      SO ORDERED.




                                                                     s/WFK
                                                      HON. WILLIAM F.    1:
                                                      UNITED STATES DISTRI

 Dated: October 17, 2019
        Brooklyn, New York
